Case 1:18-cv-00950-PTG-JFA Document 809 Filed 05/24/24 Page 1 of 3 PageID# 34916




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division


   SONY MUSIC ENTERTAINMENT, et al.

                          Plaintiffs,
                                                          Case No. 1:18-CV-00950-PTG-JFA
                         v.

   COX COMMUNICATIONS, INC., et al.,

                         Defendants.




                               COX COMMUNICATIONS INC.’S AND
                              COXCOM, LLC’S UNOPPOSED MOTION


                                           Hearing Waived

         PURSUANT to Local Rule 7(F)(3), Cox Communications, Inc. and CoxCom, LLC

  (“Cox”) respectfully request that the Supersedeas bond be released. Cox has conferred with

  Plaintiffs’ counsel and Plaintiffs do not oppose. Cox’s bases for seeking such relief are set forth

  in the accompanying memorandum, and a Proposed Order is also attached hereto.



  Dated: May 24, 2024                            Respectfully submitted,

                                                 /s/ J. Tyler McGaughey
                                                 J. Tyler McGaughey (VSB No. 78809)
                                                 WINSTON & STRAWN LLP
                                                 1901 L Street NW
                                                 Washington, DC 20036
                                                 (202) 282-5000
                                                 (202) 282-5100
                                                 TMcGaughey@winston.com



                                                   1
Case 1:18-cv-00950-PTG-JFA Document 809 Filed 05/24/24 Page 2 of 3 PageID# 34917




                                     Attorneys for Defendants Cox Communications,
                                     Inc. and CoxCom, LLC




                                       2
Case 1:18-cv-00950-PTG-JFA Document 809 Filed 05/24/24 Page 3 of 3 PageID# 34918




                                 CERTIFICATE OF SERVICE

         I hereby certify that on May 24, 2024, the foregoing motion was filed using the Court’s

  CM/ECF system, through which counsel for all parties will be served.



                                          /s/ J. Tyler McGaughey
                                          J. Tyler McGaughey (VSB No. 78809)
                                          WINSTON & STRAWN LLP
                                          1901 L Street NW
                                          Washington, DC 20036
                                          (202) 282-5000
                                          (202) 282-5100
                                          TMcGaughey@winston.com

                                          Attorneys for Defendants Cox Communications, Inc.
                                          and CoxCom, LLC
